                                                                                  027,21*5$17('


                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                              ]
                                                      ]
v.                                                    ]      No. 3:12-CR-00137-2
                                                      ]      Judge Sharp
ANITA JOHNSON                                         ]

           MOTION TO ENLARGE TIME FOR FILING PRETRIAL MOTIONS

         Comes now the Defendant, Anita Johnson, by and through undersigned counsel, and

hereby moves this Honorable Court to enlarge the pretrial motion-filing deadline of August 15,

2012, by three weeks to Wednesday, September 5, 2012.

         In support of this motion, Ms. Johnson submits the following:

         Ms. Johnson is charged in the above referenced indictment with one count of distribution

and possession with intent to distribute Oxycodone in violation of Title 21 U.S.C. section

841(a)(1) (Docket No. 15). On July 18, 2012, Ms. Johnson’s plea not guilty to the alleged

offense was entered (Docket Entry No. 21).       Thus, Ms. Johnson’s pretrial motions are due on

Wednesday, August 15, 2012. See LCrR 12.01(b).

         As of the filing of this motion, one day before the motion-filing deadline, the government

is still in the process of providing discovery. This is the first motion requesting that the motion-

filing deadline be enlarged. Undersigned counsel anticipates that the trial date may need to be

continued as well and will file the appropriate motion at the appropriate time.

         Counsel has contacted Assistant United States Attorney Brent Hannafan about enlarging

the motion-filing deadline. The government has no objection to the instant request.

         Undersigned counsel suggests that the motion-filing deadline be enlarged to September 5,

2012. The instant request is made in good faith and in an effort to provide constitutionally




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